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Model Plan                                                                                   Trustee:   Marshall   Meyer
12/1/2011                                                                                               Stearns    Vaughn
                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS

      In re:                                                            )    Case No.
                                                                        )
      Charles F. Gilbert                                                )
      Sandra D. Gilbert
                                                                        )
                                    Debtors.                            )     Original Chapter 13 Plan, dated July 31, 2013
       A check in this box indicates that the plan contains special provisions, set out in Section G.
Otherwise, the plan includes no provisions deviating from the model plan adopted by the court at the
time of the filing of this case.
Section A.            1. As stated in the debtor’s Schedule I and J, (a) the number of persons in the debtor’s household
Budget                is 5 ; (b) their ages are 61, 58 , 18 , 22 , 26 ; (c) total household monthly income is $ 12,890.09 ; and
items                 (d) total monthly household expenses are $ 8,277.12 , leaving $ 4,612.97 available monthly for
                      plan payments.
                       2. The debtor’s Schedule J includes $ N/A for charitable contributions; the debtor represents that
                       the debtor made substantially similar contributions for N/A months prior to filing this case.
Section B.            1. The debtor assumes all unexpired leases and executory contracts listed in Section G of this
General               plan; all other unexpired leases and executory contracts are rejected. Both assumption and
provisions            rejection are effective as of the date of plan confirmation.
                       2. Claims secured by a mortgage on real property of the debtor, set out in Section C or in
                       Paragraph 2 of Section E of this plan, shall be treated as follows:

                       (a) Prepetition defaults. If the debtor pays the cure amount specified in Paragraph 5 of Section E,
                       while timely making all required postpetition payments, the mortgage will be reinstated
                       according to its original terms, extinguishing any right of the mortgagee to recover any amount
                       alleged to have arisen prior to the filing of the petition.

                       (b) Costs of collection. Costs of collection, including attorneys' fees, incurred by the holder after
                       the filing of this bankruptcy case and before the final payment of the cure amount specified in
                       Paragraph 5 of Section E may be added to that cure amount pursuant to order of the court on
                       motion of the holder.
                       3. The holder of any claim secured by a lien on property of the estate, other than a mortgage
                       treated in Section C or in Paragraph 2 of Section E, shall retain the lien until the earlier of (a)
                       payment of the underlying debt determined under nonbankruptcy law, or (b) discharge under 11
                       U.S.C. § 1328, at which time the lien shall terminate and be released by the creditor.
                       4. The debtor shall retain records, including all receipts, of all charitable donations listed in
                       Schedule J.




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Section C.                 The debtor will make no direct payments to creditors holding prepetition claims. /or/
Direct                     The debtor will make current monthly payments, as listed in the debtor's Schedule J--
payment of             increased or decreased as necessary to reflect changes in variable interest rates, escrow
claims by              requirements, collection costs, or similar matters--directly to the following creditors holding
debtor                 claims secured by a mortgage on the debtor’s real property:
                               Creditor: Bank of America, N.A. *          , monthly payment, $ 3,738.52
Section D.            1. Initial plan term. The debtor will pay to the trustee $ 4,620.00 monthly for 60 months [and $
Payments              monthly for an additional months], for total payments, during the initial plan term, of
by debtor             $ 277,200.00 . [Enter this amount on Line 1 of Section H.]
to the
trustee;              2. Adjustments to initial term. If the amount paid by the debtor to the trustee during the initial
plan term             plan term does not permit payment of general unsecured claims as specified in Paragraphs 8 and
and                   9 of Section E, then the debtor shall make additional monthly payments, during the maximum
completion            plan term allowed by law, sufficient to permit the specified payments.

                      3. Plan completion. The plan will conclude before the end of the initial term, as adjusted by
                      Paragraph 2, only at such time as all allowed claims are paid in full, with any interest required by
                      the plan /or/
                         The plan will conclude before the end of the initial term at any time that the debtor pays to the
                      trustee the full amounts specified in Paragraphs 1 and 2.

Section E.             The trustee shall disburse payments received from the debtor under this plan as follows:
Disburse-
ments by               1. Trustee’s fees. Payable monthly, as authorized; estimated at 3.90% of plan payments; and
the trustee            during the initial plan term, totaling $ 10,810.80 . [Enter this amount on Line 2a of Section H.]
                       2. Current mortgage payments. Payable according to the terms of the mortgage, as set forth
                       below, beginning with the first payment due after the filing of the case. Each of these payments
                       shall be increased or decreased by the trustee as necessary to reflect changes in variable interest
                       rates, escrow requirements, or similar matters; the trustee shall make the change in payments as
                       soon as practicable after receipt of a notice of the change issued by the mortgage holder, but no
                       later than 14 days after such receipt. The trustee shall notify the debtor of any such change at
                       least 7 days before putting the change into effect. Any current mortgage payment made by the
                       debtor directly to the mortgagee shall be deducted from the amounts due to be paid to the trustee
                       under this plan.
                       -NONE-

                       The total of all current mortgage payments to be made by the trustee under the plan is estimated
                       to be $ 0.00 . [Enter this amount on Line 2b of Section H.]
                       3.1. Other secured claims secured by value in collateral. All secured claims, other than mortgage
                       claims treated above and claims treated in Paragraph 3.2, are to be paid in full during the plan
                       term, with interest at an annual percentage rates and in the fixed monthly amounts specified
                       below regardless of contrary proofs of claim (subject to reduction with the consent of the
                       creditor):



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                       (a) Creditor:       Acura Financial Services           Collateral:2011 Acura RDX with 46,000 Miles

                       Amount of secured claim: $ 19,436.61 APR 4.25 % Fixed monthly payment:$ 360.15 ;
                       Total estimated payments, including interest, on the claim: $21,609.00. Check if non-PMSI

                       (b) Creditor:        BMO Harris Bank NA-               Collateral:575 Wicklow Court, Deerfield IL 60015

                       Amount of secured claim: $ 177,043.00 APR 0 % Fixed monthly payment:$ 2,950.72 ;
                       Total estimated payments, including interest, on the claim: $177,043.00. Check if non-PMSI

                       (c) Creditor:       Toyota Motor Credit                Collateral:2009 Toyota RAV4 with 65,000 Miles

                       Amount of secured claim: $ 7,812.00 APR 4.25 %        Fixed monthly payment:$ 144.75 ;
                       Total estimated payments, including interest, on the claim: $8,685.00. Check if non-PMSI
                       [All claims in the debtor’s Schedule D, other than mortgages treated above and claims for which
                       the collateral has no value, must be listed in this paragraph.]
                       The total of all payments on these secured claims, including interest, is estimated to be
                       $ 207,337.00 . [Enter this amount on Line 2c of Section H.]
                       3.2 Other secured claims treated as unsecured. The following claims are secured by collateral
                       that either has no value or that is fully encumbered by liens with higher priority. No payment
                       will be made on these claims on account of their secured status, but to the extent that the claims
                       are allowed, they will be paid as unsecured claims, pursuant to Paragraphs 6 and 8 of this section.
                       -NONE-

                       4. Priority claims of debtor’s attorney. Payable in amounts allowed by court order. The total
                       claim of debtor's attorney is estimated to be $ 0.00 . [Enter this amount on Line 2d of Section H.]
                       5. Mortgage arrears. Payable as set forth below, regardless of contrary proofs of claim, except
                       that the arrears payable may be reduced either with the consent of the mortgagee or by court
                       order, entered on motion of the debtor with notice to the trustee and the mortgagee. Any such
                       reduction shall be effective 14 days after either the trustee's receipt of a notice of reduction
                       consented to by the mortgagee or the entry of a court order reducing the arrearage.
                       -NONE-

                       6. Allowed priority claims other than those of the debtor’s attorney. Payable in full, without
                       interest, on a pro rata basis. The total of all payments on non-attorney priority claims to be made
                       by the trustee under the plan is estimated to be $ 0.00 . [Enter this amount on Line 2f of Section
                       H.] Any claim for which the proof of claim asserts both secured and priority status, but which is
                       not identified as secured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this
                       paragraph to the extent that the claim is allowed as priority claim.
                       7. Specially classified unsecured claim. A special class consisting of the following non-priority
                       unsecured claim: -NONE-         shall be paid at N/A % of the allowed amount. The total of all
                       payments to this special class is estimated to be $ N/A . [Enter this amount on Line 2g of
                       Section H.]
                       Reason for the special class:                   N/A    .


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                       8. General unsecured claims (GUCs). All allowed nonpriority unsecured claims, not specially
                       classified, including unsecured deficiency claims under 11 U.S.C. § 506(a), shall be paid, pro
                       rata, in full, /or/ to the extent possible from the payments set out in Section D, but not less
                       than 48 % of their allowed amount. [Enter minimum payment percentage on Line 4b of Section
                       H.] Any claim for which the proof of claim asserts secured status, but which is not identified as
                       secured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this paragraph to the
                       extent that the claim is allowed without priority.
                       9. Interest.   Interest shall not be paid on unsecured claims /or/ interest shall be paid on
                       unsecured claims, including priority and specially classified claims, at an annual percentage rate
                       of     N/A   % [Complete Line 4d of Section H to reflect interest payable.]

Section F.             The trustee shall pay the amounts specified in Section E of this Plan in the following order
Priority               of priority, with claims in a given level of priority reduced proportionately in the event of
                       insufficient plan payments: (1) trustee’s fee; (2) current mortgage payments; (3) secured claims
                       listed in Section E, Paragraph 3.1; (4) priority claims of the debtor's attorney; (5) mortgage
                       arrears; (6) priority claims other than those of the debtor's attorney; (7) specially classified
                       non-priority unsecured claims; and (8) general unsecured claims.

Section G.             Notwithstanding anything to the contrary set forth above, this Plan shall include the provisions
Special                set forth in the box following the signatures. The provisions will not be effective unless there
terms                  is a check in the notice box preceding Section A.




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Section H.              (1) Total payments from the debtor to the Chapter 13 trustee
Summary                 (subject to Paragraph 2 of Section D)                                                      $       277,200.00
of pay-
ments to                (2) Estimated disbursements by the trustee for non-GUCs
and from                (general unsecured claims):
the                       (a) Trustee’s fees                                               $      10,810.80

trustee                   (b) Current mortgage payments                                    $             0.00
                          (c) Payments of other allowed secured claims                     $     207,337.00
                          (d) Priority payments to debtor’s attorney                       $             0.00
                          (e) Payments of mortgage arrears                                 $             0.00
                          (f) Payments of non-attorney priority claims                     $             0.00
                          (g) Payments of specially classified unsecured claims            $             0.00
                          (h) Total [add Lines 2a through 2g]                                                      $       218,147.80

                        (3) Estimated payments available for GUCs and interest
                            during initial plan term [subtract Line 2h from Line 1]                                $         59,052.20

                        (4) Estimated payments required after initial plan term:
                          (a) Estimated total GUCs, including unsecured deficiency
                              claims under § 506(a)                                 $            124,275.59
                          (b) Minimum GUC payment percentage                                         48    %
                          (c) Estimated minimum GUC payment [multiply line 4a by
                              line 4b]                                              $             59,652.28
                          (d) Estimated interest payments on unsecured claims       $                    0.00
                          (e) Total of GUC and interest payments [add Lines 4c
                              and 4d]                                               $             59,652.28
                          (f) Payments available during initial term [enter Line 3] $             59,052.20
                          (g) Additional payments required [subtract Line 4f from
                              Line 4e]                                                                             $             600.08

                        (5) Additional payments available:
                          (a) Debtor's monthly payment less trustee's fees and
                              current mortgage payments made by the trustee                $       4,439.82
                          (b) Months in maximum plan term after initial term                               0
                          (c) Payments available [multiply line 5a by line 5b]                                     $                 0.00


Section I.                 A check in this box indicates that the debtor consents to immediate entry of an order
Payroll                 directing the debtor's employer to deduct from the debtor's wages the amount specified in
Control                 Paragraph 1 of Section D and to pay that amount to the trustee on the debtor's behalf. If this is a
                        joint case, details of the deductions from each spouse's wages are set out in Section G.

Signatures Debtor(s) [Sign only if not represented by an attorney]

                                                                                                    Date


                   Debtor's Attorney                   /s/ Mohammed Badwan                          Date        July 31, 2013




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Attorney Information                  Mohammed Badwan
                                      Sulaiman Law Group, Ltd.
(name, address,                       900 Jorie Boulevard
telephone, etc.)                      Suite 150
                                      Oak Brook, IL 60523
                                      630-575-8181
                                      Fax: 630-575-8188
                                                   Special Terms [as provided in Paragraph G]

1. Debtors shall make direct payments to Lake County Treasurer for Property Taxes related to the real property located at 575
Wicklow Court, Deerfield Illinois. Lake County Treasurer is authorized to disburse statements directly to the Debtors.

2. Debtors shall make direct payments to Sallie Mae for student loans. Sallie Mae is authorized to disburse monthly statements
directly to the Debtors.

3. Debtors shall make direct payments to Direct Loans for student loans. Direct Loans is authorized to disburse monthly
statements directly to the Debtors.

4. Debtors shall make direct payments to US Department of Education for student loans. US Department of Education is
authorized to disburse monthly statements directly to the Debtors.

5. Unsecured claims filed after the claim bar date are hereby disallowed and shall not be paid by the Chapter 13 Trustee.




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